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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                         ANDERSON/GREENWOOD DIVISION

UNITED STATES OF AMERICA                   )    CRIMINAL NO.: 8:19-cr-00181-DCC-2
                                           )
               vs.                         )
                                           )
DONALD NATHANIEL THOMAS, JR.               )
  a/k/a “TJ”                               )


               MOTION FOR PRELIMINARY ORDER OF FORFEITURE
                   AS TO DONALD NATHANIEL THOMAS, JR.

       Pursuant to Fed. R. Crim. P. 32.2(b), the United States of America, by and through

its undersigned Assistant United States Attorney, Carrie Fisher Sherard, moves this Court

for the entry of a Preliminary Order of Forfeiture as to Donald Nathaniel Thomas, Jr.,

(“Thomas”, “Defendant”), based on the defendant=s conviction of conspiracy to possess

with intent to distribute controlled substances, in violation of Title 21, United States Code,

Sections 841(a)(1), (b)(1)(A) and 846 and false statements to federal agents, in violation

of Title 18, United States Code, Sections 1001(a)(2) and 2.

       The Government further requests that such order be entered by this Court

sufficiently in advance of sentencing to permit time for the Government and the Defendant

to suggest revisions or modifications. Fed. R. Crim. P. 32.2(b)(2)(B) (AUnless doing so is

impractical, the court must enter the preliminary order sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications before the order

becomes final as to the defendant under Rule 32.2(b)(4).@)



                            [SIGNATURE PAGE TO FOLLOW]
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                                    Respectfully submitted,

                                    PETER M. MCCOY, JR.
                                    UNITED STATES ATTORNEY

                                    By:      s/Carrie Fisher Sherard
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May 28, 2020




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